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AO 246 (Rev. 04/17) Probation Order Under 18 U.S.C. § 3607

UNITED STATES DISTRICT COURT

 

for the
District of New Jersey
United States of America )
v. )
) Case No. 19-9180
JOHN S. LIM )
Defendant )

PROBATION ORDER UNDER 18 U.S.C. § 3607

The defendant having been found guilty of an offense described under 21 U.S.C. § 844, and it appearing that the
defendant (1) has not, prior to the commission of such offense, been convicted of violating a federal or state law relating to
controlled substances, and (2) has not previously been the subject of a disposition under this subsection,

IT IS ORDERED: The defendant is placed on probation as provided in 18 U.S.C. § 3607 for a period of
6 Months without a judgment of conviction first being entered. The defendant must comply with
the conditions of probation set forth on the next page of this order.

 

Date 07/27/2020 (Nunc Pro Tune 9/25/19)

 

MWudge aS signature
Honorable Anthony R. Mautone, USMJ

Printed name and title

 

 

Defendant’s Consent

I have read the proposed probation order under 18 U.S.C. § 3607 and the conditions of probation, including the
special conditions above. I understand that if I violate any conditions of probation, the court may enter a judgment of
conviction and proceed as provided by law. I consent to the entry of the order.

I also understand that, if 1 have not violated any condition of my probation, the court, without entering a judgment
of conviction, (1) may dismiss the proceedings and discharge me from probation before the expiration of the term of
probation, or (2) must dismiss the proceedings and discharge me from probation at the expiration of the term of probation.

I also understand that, if I was under age 21 at the time of the offense, I am entitled to have the record of my
arrest and conviction expunged upon application.

Date: 07/27/2020 s/ John S. Lim

 

Defendant's signature

s/ Matthew Teeter

 

Signature of defendant's attorney

 

Printed name of defendant’s attorney
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PROBATION

You are hereby sentenced to probation for a term of: _6 Months

 

MANDATORY CONDITIONS

1. You must not commit another federal, state or local crime.
2 You must not unlawfully possess a controlled substance.
3 You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15

days of placement on probation and at least two periodic drug tests thereafter, as determined by the court.
O The above drug testing condition is suspended, based on the court's determination that you pose a
low risk of future substance abuse. (check if applicable)

4, O You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

5. O You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C.
§ 16901, ef seg.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender
registration agency in the location where you reside, work, are a student, or were convicted of a
qualifying offense. (check if applicable)

6. O You must participate in an approved program for domestic violence. (check if applicable)

i: O You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and
3664. (check if applicable)

8. You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.

‘ If this order imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this order.
10. You must notify the court of any material change in your economic circumstances that might affect your ability

to pay restitution, fines, or special assessments.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions
on the attached page.
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STANDARD CONDITIONS OF SUPERVISION

As part of your probation, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your
conduct and condition.

1 You must report to the probation office in the federal judicial district where you are authorized to reside within
72 hours of the time you were sentenced, unless the probation officer instructs you to report to a different
probation office or within a different time frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation
officer about how and when you must report to the probation officer, and you must report to the probation
officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first

getting permission from the court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything

about your living arrangements (such as the people you live with), you must notify the probation officer at least

10 days before the change. If notifying the probation officer in advance is not possible due to unanticipated

circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or

expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit
the probation officer to take any items prohibited by the conditions of your supervision that he or she observes
in plain view.

ts You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation
officer excuses you from doing so. If you do not have full-time employment you must try to find full-time
employment, unless the probation officer excuses you from doing so. If you plan to change where you work or
anything about your work (such as your position or your job responsibilities), you must notify the probation
officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not
possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know
someone has been convicted of a felony, you must not knowingly communicate or interact with that person
without first getting the permission of the probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72
hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon
(i.e., anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to
another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source
or informant without first getting the permission of the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the
probation officer may require you to notify the person about the risk and you must comply with that
instruction. The probation officer may contact the person and confirm that you have notified the person about
the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

oo

U.S. Probation Office Use Only

A US. probation officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this order containing these conditions. For further information regarding these conditions, see Overview of
Probation and Supervised Release Conditions, available at: www.uscourts.gov.

Defendant's Signature s/ John S. Lim Date ___or/2712020

 

 
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ADDITIONAL SUPERVISION CONDITIONS

ALCOHOL AND/OR DRUG TESTING AND TREATMENT

You must refrain from the illegal possession and use of drugs, including prescription medication not prescribed in your
name, and the excessive use of alcohol, and must submit to urinalysis or other forms of testing to ensure compliance. It
is further ordered that you must submit to evaluation and treatment, on an outpatient or inpatient basis, as approved by
the U.S. Probation Office. You must abide by the rules of any program and must remain in treatment until satisfactorily
discharged by the Court. You must alert all medical professionals of any prior substance abuse history, including any
prior history of prescription drug abuse. The U.S. Probation Office will supervise your compliance with this condition.

GATEWAY NATIONAL PARK RESTRICTION

You must refrain from entering Gateway National Park while on supervision.
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SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A Lump sum paymentof$ due immediately, balance due
O not later than - , or
in accordance with O C,or 0 D below; or

B O Payment to begin immediately (may be combined with O C,or O D below); or

c O Payment in equal (e.g. weekly, monthly, quarterly) installments of $ over a period of

 

(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this order; or

D 1 Special instructions regarding the payment of criminal monetary penalties:

All criminal monetary penalties are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

o Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

O The defendant shall pay the cost of prosecution.
O ‘The defendant shall pay the following court cost(s):

The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest,
(6) community restitution, (7) VTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
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ADDITIONAL DEFENDANTS AND CO-DEFENDANTS HELD JOINT AND SEVERAL

Case Number
Defendant and Co-Defendant Names J _ and Sever Corresponding Payee,
(including defendant number) (including defendant number) defendant number Total Amount if appropriate

     

 

 
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ADDITIONAL FORFEITED PROPERTY
